Case: 1:20-cv-04806 Document #: 594-1 Filed: 11/09/22 Page 1 of 25 PageID #:14307




                       Exhibit 1
Case: 1:20-cv-04806 Document #: 594-1 Filed: 11/09/22 Page 2 of 25 PageID #:14308



EXHIBIT 1: THREE-WAY COMPARISON BETWEEN THE ACCUSED PRODUCTS, AND
THE PATENTS-IN-SUIT



Contents
          THREE-WAY ANALYSES TO ACCUSED PRODUCT GYROOR A ................................................................. 1
     A.     Comparison of the ’D723 Patent to Gyroor A, in View of the ’D906 Patent .................................... 1
     B.     Comparison of the ’D256 Patent to Gyroor A, in View of the ’D906 Patent .................................... 5
          THREE-WAY ANALYSES TO ACCUSED PRODUCT GYROOR C ................................................................. 9
     A.     Comparison of the ’D723 Patent to Gyroor C, in View of the ’D906 Patent .................................... 9
     B.     Comparison of the ’D256 Patent to Gyroor C, in View of the ’D906 Patent .................................. 13
            THREE-WAY ANALYSES TO ACCUSED PRODUCT GYROOR E ........................................................... 17
     A.     Comparison of the ’D723 Patent to Gyroor E, in View of the ’D906 Patent ................................... 17
     B.     Comparison of the ’D256 Patent to Gyroor E, in View of the ’D906 Patent ................................... 21




             THREE-WAY ANALYSES TO ACCUSED PRODUCT GYROOR A
A.           Comparison of the ’D723 Patent to Gyroor A, in View of the ’D906 Patent

 Table E1: Comparison of the ’D723 Patent to Gyroor A, in View of the ’D906 Patent
Case: 1:20-cv-04806 Document #: 594-1 Filed: 11/09/22 Page 3 of 25 PageID #:14309
Case: 1:20-cv-04806 Document #: 594-1 Filed: 11/09/22 Page 4 of 25 PageID #:14310
Case: 1:20-cv-04806 Document #: 594-1 Filed: 11/09/22 Page 5 of 25 PageID #:14311
Case: 1:20-cv-04806 Document #: 594-1 Filed: 11/09/22 Page 6 of 25 PageID #:14312



B.     Comparison of the ’D256 Patent to Gyroor A, in View of the ’D906 Patent


 Table E2: Comparison of the ’D256 Patent Gyroor A, in View of the ’D906 Patent
Case: 1:20-cv-04806 Document #: 594-1 Filed: 11/09/22 Page 7 of 25 PageID #:14313
Case: 1:20-cv-04806 Document #: 594-1 Filed: 11/09/22 Page 8 of 25 PageID #:14314
Case: 1:20-cv-04806 Document #: 594-1 Filed: 11/09/22 Page 9 of 25 PageID #:14315
Case: 1:20-cv-04806 Document #: 594-1 Filed: 11/09/22 Page 10 of 25 PageID #:14316



       THREE-WAY ANALYSES TO ACCUSED PRODUCT GYROOR C
A.     Comparison of the ’D723 Patent to Gyroor C, in View of the ’D906 Patent

 Table E1: Comparison of the ’D723 Patent to Gyroor C, in View of the ’D906 Patent
Case: 1:20-cv-04806 Document #: 594-1 Filed: 11/09/22 Page 11 of 25 PageID #:14317
Case: 1:20-cv-04806 Document #: 594-1 Filed: 11/09/22 Page 12 of 25 PageID #:14318
Case: 1:20-cv-04806 Document #: 594-1 Filed: 11/09/22 Page 13 of 25 PageID #:14319
Case: 1:20-cv-04806 Document #: 594-1 Filed: 11/09/22 Page 14 of 25 PageID #:14320



B.     Comparison of the ’D256 Patent to Gyroor C, in View of the ’D906 Patent


 Table E2: Comparison of the ’D256 Patent Gyroor C, in View of the ’D906 Patent
Case: 1:20-cv-04806 Document #: 594-1 Filed: 11/09/22 Page 15 of 25 PageID #:14321
Case: 1:20-cv-04806 Document #: 594-1 Filed: 11/09/22 Page 16 of 25 PageID #:14322
Case: 1:20-cv-04806 Document #: 594-1 Filed: 11/09/22 Page 17 of 25 PageID #:14323
Case: 1:20-cv-04806 Document #: 594-1 Filed: 11/09/22 Page 18 of 25 PageID #:14324



       THREE-WAY ANALYSES TO ACCUSED PRODUCT GYROOR E
A.     Comparison of the ’D723 Patent to Gyroor E, in View of the ’D906 Patent

 Table E1: Comparison of the ’D723 Patent to Gyroor E, in View of the ’D906 Patent
Case: 1:20-cv-04806 Document #: 594-1 Filed: 11/09/22 Page 19 of 25 PageID #:14325
Case: 1:20-cv-04806 Document #: 594-1 Filed: 11/09/22 Page 20 of 25 PageID #:14326
Case: 1:20-cv-04806 Document #: 594-1 Filed: 11/09/22 Page 21 of 25 PageID #:14327
Case: 1:20-cv-04806 Document #: 594-1 Filed: 11/09/22 Page 22 of 25 PageID #:14328



B.     Comparison of the ’D256 Patent to Gyroor E, in View of the ’D906 Patent


 Table E2: Comparison of the ’D256 Patent Gyroor E, in View of the ’D906 Patent
Case: 1:20-cv-04806 Document #: 594-1 Filed: 11/09/22 Page 23 of 25 PageID #:14329
Case: 1:20-cv-04806 Document #: 594-1 Filed: 11/09/22 Page 24 of 25 PageID #:14330
Case: 1:20-cv-04806 Document #: 594-1 Filed: 11/09/22 Page 25 of 25 PageID #:14331
